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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 19-295 (PJS/TNL)

 UNITED STATES OF AMERICA,                      )
                                                )
                      Plaintiff,                )
                                                )   GOVERNMENT’S CONSOLIDATED
               v.                               )   RESPONSE TO DEFENDANT’S
                                                )   PRETRIAL DISCLOSURE MOTIONS
 JULIA RENE AYERS,                              )
                                                )
                      Defendant.                )

       The United States of America, by and through its attorneys Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Allen A. Slaughter Jr., Assistant

United States Attorney, hereby submits its consolidated response to Defendant Julia Rene

Ayers’ pretrial motions. Based upon any reply filed by Defendant Ayers, any oral

arguments before the Court, or additional submissions, the United States respectfully

requests the opportunity to file supplemental briefing if and as necessary.

1.     Motions for Discovery and Inspection (ECF Nos. 15 & 16)

       The United States has complied, and will continue to comply, with Fed. R. Crim. P.

16(a)(1)(A)-(F). Pursuant to the Court’s arraignment order, the United States provided

disclosures to Defendant on November 21, 2019. Said disclosure included police reports,

a portion of Defendant’s criminal history information, photographs, search warrants

authorized by prior judicial officials, firearms tracking and tracing information,

preliminary laboratory submission documentation, certified copies of Defendant’s

fingerprints, content resultant from the evaluation of one of defendant’s stones, as well as

a copy of Defendant’s audio-recorded post-Miranda interview. The United States
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understands its continuing obligations with respect to discovery under the applicable rules.

The United States has offered and continues to offer Defendant the opportunity to inspect

and examine the physical evidence available in this case upon request at a mutually

convenient time.

        More specifically, with respect to any written or oral statement(s) of Defendant, the

United States has already produced or made available all such statements in its possession,

custody or control, and/or will produce any such statements on a timely basis when it

receives them. The United States has also provided Defendant with materials relating to

her criminal history and other certified documents with regard to her prior felony

convictions, as pertinent to her prohibited status. Furthermore, with respect to physical

examinations and/or scientific tests, the United States has disclosed all technical reports,

inspections, and certifications that have been generated to date. The United States has not

obtained DNA test results to date. The United States will disclose any additional reports as

soon as it receives them.

        The United States is fully aware of its obligations under Fed. R. Crim. P. 16(a)(1)(G)

and FRE 702, 703, and 705, relating to disclosures of potential expert witness opinions,

reports, and/or qualifications, and intends to fully comply with the requirements of those

rules. The United States has not yet determined whether and which expert witness(es) it

will call at trial. The United States, however, has already produced forensic and scientific

lab analyses requests, assignments, and reports and will continue to timely produce such

reports as it receives them. Should DNA results be generated, the United States will also

provide a copy of Defendant’s motion (ECF No. 16) to the BCA Lab and shall request a


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copy of the Lab’s complete DNA file be produced for disclosure. However, the government

reserves the right to object to certain of her sub-requests, see ECF 16 at 1-2, to the extent

they are not possible, overly burdensome, and/or immaterial to the actual DNA test results

themselves.

        The only issue to be determined by the Court at this time, therefore, is the timing of

such expert disclosures because there is no specific timing requirement included in Rule

16(a)(1)(G). See Fed. R. Crim. P. 16 advisory committee’s note, 1993 Amendments

(providing that “although no specific timing requirements are included, it is expected that

the parties will make their requests and disclosures in a timely fashion”).

        The United States respectfully requests that the Court order that all expert

disclosures be made reciprocally no later than 10 days before trial to afford the parties

sufficient notice of any expected expert testimony and time to prepare a focused cross-

examination of any expert. See United States v. Finn, 919 F. Supp. 1305, 1316 n.7 (D.

Minn. 1995) (ordering government to make expert disclosures as opinions became

available and no later than seven days before trial); Fed. R. Crim. P. 16 advisory

committee’s note, 1993 Amendments.

2.      Motion for Pretrial Disclosure of Jencks Act Material (ECF No. 17)

        Defendant moves for an order requiring the United States to disclose Jencks Act

materials “at least two weeks prior to . . . trial.” Because Defendant’s motion directly

contravenes the Jencks Act and well-established Eighth Circuit precedent, the motion

should be summarily denied.




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        As Defendant appears to acknowledge, Federal Rule of Criminal Procedure 16(a)(2)

specifically excludes statements made by government witnesses from pretrial discovery,

except as provided in the Jencks Act. The Jencks Act expressly provides in relevant part

that statements or reports made by a prospective Government witness are not subject to

“subpoena, discovery, or inspection until said witness has testified on direct examination

in the trial of the case.” 18 U.S.C. § 3500(a) (emphasis added). See United States v.

Collins, 652 F.2d 735, 738 (8th Cir. 1981). The Eighth Circuit has repeatedly recognized

that the Government cannot be compelled to produce Jencks Act material until after the

witness has testified at trial on direct examination. See, e.g., United States v. Sturdivant,

513 F.3d 795, 803 (8th Cir. 2008); United States v. Green, 151 F.3d 1111, 1115 (8th Cir.

1998); Anderson v. United States, 788 F.2d 517, 519 (8th Cir. 1986); United States v.

White, 750 F.2d 726, 728-29 (8th Cir. 1984). Indeed, the established rule in this Circuit is

that, ordinarily, the United States need not disclose Jencks Act material prior to the direct

examination of the witness to whom the material pertains. E.g., Green, 151 F.3d at 1115;

United States v. Wilson, 102 F.2d 968, 971 (8th Cir. 1996); United States v. Douglas, 964

F.2d 738, 741 (8th Cir. 1992); White, 750 F.2d at 729. Although the United States already

has and may further disclose such information prior to a witness’s trial testimony, the

United States cannot properly be required to do so. Defendant’s motion, therefore, is

meritless.

        The United States, however, understands that early disclosure of Jencks Act material

assists in the orderly progress of trial and therefore routinely makes Jencks Act material

available voluntarily to a defendant before trial. While the United States has not yet


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determined whom it will call as a witness at trial, the United States will voluntarily produce

Jencks Act material 5 days before trial. The United States, however, objects to any order

requiring it to provide early disclosure. See, e.g., Sturdivant, 513 F.3d at 803 (recognizing

that Government cannot be compelled to produce Jencks Act material until after witness

has testified at trial on direct examination).

3.      Motion to Compel Disclosure of Favorable Evidence (ECF No. 18)

        The United States is aware of its obligations under Brady v. Maryland, 373 U.S. 83

(1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny. The United States

has complied, and will continue to comply, fully with those obligations. To the extent

evidence exists which is both favorable to Defendant and material to either guilt or

punishment, the evidence will be, or already has been, timely disclosed. But Brady is not

a “discovery device,” and it “does not require pretrial disclosure.” United States v. Bowie,

618 F.3d 802, 818 (8th Cir. 2010); United States v. Almendares, 397 F.3d 653, 664 (8th

Cir. 2005) (emphasis added).        Indeed, “[t]here is no general constitutional right to

discovery in a criminal case, and Brady did not create one.” Madsen v. Dormire, 137 F.3d

602, 605 (8th Cir. 1998) (quoting Weatherford v. Bursey, 429 U.S. 545, 559 (1977));

United States v. Ruiz, 536 U.S. 622, 628 (2002) (“the Constitution does not require the

prosecutor to share all useful information with the defendant”) (citing Weatherford, 429

U.S. at 559). Rather, “due process is satisfied if the information is furnished before it is

too late for the defendant to use it at trial.” Almendares, 397 F.3d at 664. The United

States objects to Defendant’s motion to the extent that it seeks materials that are not

required to be disclosed under Brady, Giglio, and their progeny.

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        Any impeachment material or witness statements will be timely produced in accord

with the Jencks Act. See 18 U.S.C. § 3500. The Jencks Act expressly provides in relevant

part that statements or reports made by a prospective Government witness are not subject

to “subpoena, discovery, or inspection until said witness has testified on direct examination

in the trial of the case.” 18 U.S.C. § 3500(a) (emphasis added). See United States v.

Sturdivant, 513 F.3d 795, 803 (8th Cir. 2008) (recognizing that Government cannot be

compelled to produce Jencks Act material until after a witness has testified at trial on direct

examination). And disclosure of impeachment material is timely if it is produced in

compliance with the requirements of the Jencks Act. See, e.g., United States v. Miller, 698

F.3d 699, 704 (8th Cir. 2012), cert. denied, 133 S. Ct. 1296 (2013); United States v.

Eisenberg, 469 F.2d 156, 160 (8th Cir. 1972).

        To the extent Defendant’s motion seeks disclosure of the United States’ potential

trial witnesses, the motion is beyond the scope of Rule 16. See Miller, 698 F.3d at 704

(noting that “government properly objected” to pretrial motion for witness list and

upholding district court’s order for government to instead provide witness discovery “prior

to cross-examination” of witness at trial); Weatherford, 429 U.S. at 559 (“It does not follow

from the prohibition against concealing evidence favorable to the accused that the

prosecution must reveal before trial the names of all witnesses who will testify

unfavorably.”). Moreover, the United States does not yet know which witnesses it intends

to call at trial. The United States, however, will of course provide a potential witness list

in accord with any trial scheduling order.




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        The United States also agrees that it will disclose criminal record information, if

any, of its testifying witnesses immediately before trial. The United States further agrees

to disclose immediately prior to trial any promises or agreements, if any, between it and its

testifying witnesses. The United States also understands its obligation under Giglio and

Brady to disclose certain other impeachment evidence, if any, for its witnesses. The United

States declines to provide any such material with respect to persons who will not be called

as witnesses since such a request is beyond the scope of Brady, Giglio, and their progeny.

See Eisenberg, 469 F.2d at 160; Miller, 698 F.3d at 704 (addressing motion under Fed. R.

Crim. P. 16(a)(1)(E)(i)). See also United States v. Presser, 844 F.2d 1275, 1283-85 (6th

Cir. 1988) (discussing government’s disclosure obligations under Brady, Giglio, the Jencks

Act, and Rule 16).

4.      Motion for Pretrial Disclosure of 404(b) Evidence (ECF No. 19)

        The United States is aware of its obligations under Rule 404(b) and will comply

with those obligations if it intends to introduce any such 404(b) evidence at trial. The

government is required to “provide reasonable notice in advance of trial, or during trial if

the court excuses pretrial notice on good cause shown.” Fed. R. Evid. 404(b). The

government objects to a timing element of any request for early disclosure of such

evidence, because it may lead to motions to suppress later-discovered 404(b) evidence.

Moreover, the government specifically objects to Defendant’s request for “immediate”

disclosure of 404(b) evidence. Immediate disclosure is not contemplated by the rules and

is not the law.




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        Instead, the United States will provide notice and disclose any extrinsic 404(b)

evidence that it intends to use at trial no later than 10 days before trial. See generally Fed.

R. Evid. 404(b)(2) (requiring only reasonable notice before trial of nature of such evidence

prosecution intends to offer at trial); United States v. Kern, 12 F.3d 122, 124 (8th Cir. 1993)

(finding government’s oral notice at pretrial hearing that it “might use evidence from some

local robberies” was adequate and reasonable where government disclosed underlying

reports seven days before trial). The government will provide sufficient 404(b) evidence

to enable Defendant to prepare for trial, to the extent such evidence has not already been

disclosed by that date. The United States, however, is not certain at this point in the

proceedings whether it will use any such evidence at trial.

        The United States also respectfully requests that any order regarding 404(b)

evidence be strictly drawn to require no more than what is encompassed by the Rule.

Specifically, Rule 404(b) does not encompass acts which are “intrinsic” to the charged

offenses. See Fed. R. Evid. 404 advisory committee’s notes, 1991 Amendments. If

conduct of the defendant is an “intrinsic” part of a charged offense but could nonetheless

be considered a “bad act,” then Rule 404(b) does not contemplate that notice of such

evidence be given. See United States v. Maxwell, 643 F.3d 1096, 1100 (8th Cir. 2011)

(holding that Rule 404(b) “does not extend to evidence of acts which are ‘intrinsic’ to the

charged offense . . . because such acts are not truly separate bad acts that show propensity,

but are intrinsic evidence which is inextricably intertwined with the crime charged”);

United States v. O’Dell, 204 F.3d 829, 833 (8th Cir. 2000) (noting “firmly established”




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case law that “Rule 404(b) does not apply” to non-extrinsic “crimes or acts which are

‘inextricably intertwined’ with the charged crime”).

5.      Defendant’s Entrapment Notice and Motion to Disclose and Make Informant
        Available. (ECF Nos. 20 & 21)

        Defendant in a one-page memorandum cites certain general case law regarding

entrapment, and then claims the defense. ECF No. 20 at 1-2. Defendant provides no facts

regarding her claim. Id. Afterward, Defendant moves the Court to order the government to

disclose the identity of and make available an informant involved in the government’s

investigation. Defendant then moves the Court to order the government to perform a

variety of tasks in relation to the informant.

        But merely claiming entrapment – much like merely stating that an informant has

testimony that is material and that the defense desires to determine the motivation for

informing – is not sufficient to require such disclosure. See United States v. Bourbon, 819

F.2d 856 (8th Cir. 1987). The United States Supreme Court has long recognized the

government’s privilege to withhold the identity of a confidential informant. See United

States v. Roviaro, 353 U.S. 53, 59 (1957); McCray v. Illinois, 386 U.S. 300, 310 (1967).

“In determining whether disclosure is required, the threshold issue is whether the informant

is a material witness.” Carpenter v. Lock, 257 F.3d 775, 779 (8th Cir. 2001).

        But to overcome the informant privilege, a defendant must provide “more than

speculation that the evidence an informant may provide will be material.” Id. (quoting

United States v. Grisham, 748 F.2d 460, 463-64 (8th Cir. 1984)). Instead, every defendant

“bears the burden of demonstrating that disclosure is material to the outcome of his case;



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in other words, that disclosure is vital to ensure a fair trial.” United States v. Gonzalez-

Rodriguez, 239 F.3d 948, 951 (8th Cir. 2001). “A trial court abuses its discretion if it orders

disclosure absent a showing of materiality.” United States v. Harrington, 951 F.2d 876,

877 (8th Cir. 1991).

        Defendant has merely stated “entrapment.” 1 She fails to provide any facts let alone

the exacting “vital to ensure a fair trial” burden necessary to establish disclosure is

appropriate. Typically, without more from a defendant – specifically showing why a

witness is material to the determination of the case and potentially helpful to a defense –

disclosure should not be required, especially in light of the government’s concern for

informant safety. Furthermore, the government opposes Defendant’s disclosure motion

(and it’s various sub-requests) to the extent it is premature and beyond the scope of Rule

16, the Jencks Act, and Brady and its progeny. As recognized in United States v. Roviaro,

the government’s privilege permits it to keep the identity of its informants secret. 353 U.S.

53, 59 (1957). This privilege recognizes the obligation of citizens to report crimes, and “by

preserving their anonymity, encourages them to perform that obligation.” Id.

        Once again, defendant bears the burden of showing that an informant’s identity is

truly material. Carpenter v. Lock, 257 F.3d 775, 779 (8th Cir. 2001). However, where

disclosure “is relevant and helpful to the defense or an accused, or is essential to a fair


1
  The undersigned acknowledges Defendant broached entrapment during pre-motions
communications. The parties have even discussed the identity of the informant. But to date
the government has no facts supporting the entrapment defense, and none are provided in
Defendant’s December 11, 2019, notice – let alone the clear facts necessary for informant
disclosure, or that will be necessary for such a defense at trial. See, e.g., United States v.
Combs, 827 F.3d. 790, 796 (8th Cir. 2016).

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determination of a cause, the privilege must give way.” Roviaro, 353 U.S. at 60–61.

Therefore, an informant’s identity should be disclosed when it is relevant to the defense or

essential to a fair determination of the case. Carpenter, 257 F.3d at 779. But nothing about

Roviaro, however, requires the government to disclose more about an informant than is

required to disclose about any other witnesses under Rule 16, the Jencks Act, or Brady and

its progeny.

        And “where materiality is shown, the court owes a duty to make every reasonable

effort to have the informant made available to the defendant to interview or use as a

witness, if desired.” Harris v. Taylor, 250 F.3d 613, 617 (8th Cir. 2001) (internal quotation

marks omitted). Generally, a defendant is entitled to receive information regarding a

material informant’s whereabouts, in order to enable his counsel to interview the informant

about any possible exculpatory information and to prepare for possible cross-examination.

United States v. Webster, 490 F.2d 435, 437 (8th Cir. 1974).

        This District somewhat recently addressed the time at which disclosure is necessary

in United States v. Cree, Crim. No. 12-26 (JRT/JSM), 2012 WL 6194395, at *4-5 (D. Minn.

Dec. 12, 2012). In that case, the defendant sought disclosure of confidential informant

information at least thirty days prior to trial. Id. The court granted disclosure seven days

prior to trial. Id. at *4. Notably, in Cree there were far-reaching RICO claims, with factual

circumstances far more complex than the matter currently at bar, (and which weighed in

favor of a lengthier notice period). Id. at *1.

        Therefore, if a defendant can demonstrate (or the parties together discern)

materiality regarding a particular informant or cooperating witness, the government


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proposes to make the identity of such a government informant, if any, known to the defense

just as it proposes to do with its Jencks materials – 5 days before trial. In addition, if the

government does determine to call the informant as a percipient witness, the government

will make efforts to have the informant available for an interview with the defense at a

mutually agreeable time and place before he or she testifies at trial.



Dated: December 23, 2019                          Respectfully Submitted,

                                                  ERICA H. MacDONALD
                                                  United States Attorney

                                                  /s/ Allen Slaughter
                                                  BY: Allen A. Slaughter Jr.
                                                  Assistant United States Attorney
                                                  Attorney ID No. 301668




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